

ORDER

PER CURIAM:
AND NOW, this 26th day of June, 2000, upon consideration of the Report and Recommendations of the Disciplinary Board dated May 2, 2000, it is hereby
ORDERED that Robert Chase Cheek, Jr., be and he is suspended from the Bar of this Commonwealth for a period of two years to run consecutive to the suspension previously imposed by this Court on March 13, 2000, at No. 460 Disciplinary Docket No. 3, and he shall comply with all the provisions of Rule 217, Pa.R.D.E. It is further ORDERED that respondent shall pay costs to the Disciplinary Board pursuant to Rule 208(g), Pa.R.D.E.
